             Case 6:21-cv-00453-ADA Document 28 Filed 03/24/22 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 SWISSDIGITAL USA CO., LTD.                      §
                                                 §
        Plaintiff,                               §
                                                 §    Civil Action No. 6:21-cv-453-ADA
        v.
                                                 §    JURY TRIAL DEMANDED
 WENGER S.A.                                     §
                                                 §
        Defendant.


                 NOTICE OF AGREED REQUEST FOR EXTENSION OF TIME

         Plaintiff Swissdigital USA Co., Ltd. (“Plaintiff” or “Swissdigital”) and Defendant Wenger

S.A. (“Defendant” or “Wenger”) respectfully request reciprocal one-week extensions of time for

the parties to file their respective Responsive and Reply Claim Construction Briefs. Pursuant to

the Court’s Amended Standing Order Regarding Joint or Unopposed Request to Change

Deadlines, the Parties hereby submit this Notice to the Court extending the deadlines as follows:

    •    Plaintiff’s deadline to file its Responsive claim construction brief is extended up to and

         including April 14, 2022;

    •    Defendant’s deadline to file its Reply claim construction brief is extended up to and

         including April 28, 2022.




                                                 1



4888-3219-8680, v. 1
            Case 6:21-cv-00453-ADA Document 28 Filed 03/24/22 Page 2 of 3




Dated: March 24, 2022

                                       Respectfully submitted,

                                       /s/ Dariush Keyhani_________
                                       Dariush Keyhani (pro hac vice)
                                       Frances H. Stephenson (pro hac vice)
                                       Keyhani LLC
                                       1050 30th Street NW
                                       Washington, DC 20007
                                       T. 202.748.8950
                                       F. 202.318.8958
                                       dkeyhani@keyhanillc.com
                                       fstephenson@keyhanillc.com

                                       Jacqueline P. Altman
                                       State Bar No. 24087010
                                       John P. Palmer
                                       State Bar No. 15430600
                                       John A. “Andy” Powell
                                       State Bar No. 24029775
                                       USPTO Reg. No. 71,533
                                       NAMAN HOWELL SMITH & LEE, PLLC
                                       400 Austin Ave., Suite 800
                                       Waco, Texas 76701
                                       jaltman@namanhowell.com
                                       palmer@namanhowell.com
                                       apowell@namanhowell.com

                                       Attorneys for Plaintiff Swissdigital USA Co., Ltd.




                                          2



4888-3219-8680, v. 1
            Case 6:21-cv-00453-ADA Document 28 Filed 03/24/22 Page 3 of 3




                              CERTIFICATE OF CONFERENCE


         The undersigned certifies that on March 23, 2022, counsel for Plaintiff spoke with counsel

of record for Defendant, who indicated that Defendant agrees to the relief requested herein.



                                                      /s/ Dariush Keyhani
                                                      Dariush Keyhani




                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 24th day of March, 2022, the foregoing document was

electronically filed with the Clerk of Court using the CM/ECF system, which will send notification

of such filing to all attorneys or record who have who have consented to accept this Notice as

service of this document by electronic means.



                                                      /s/ Dariush Keyhani
                                                      Dariush Keyhani




                                                 3



4888-3219-8680, v. 1
